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                                                                                 U.S. DISTRICT COURT
                                                                                     N.D. OF ALABAMA


                     UNITED STATES DISTRICT COURT
                    NORTHERN DISTRICT OF ALABAMA
                           EASTERN DIVISION

 UNITED STATES OF AMERICA )
                          )
 v.                       ) Case No. 1:22-cr-00418-RDP-NAD
                          )
 YASMINE MARIE ADEL HIDER )

                     ORDER GRANTING DEFENDANT’S
                    UNOPPOSED MOTION TO CONTINUE

      Defendant Hider’s unopposed motion to continue (Doc. 15, filed January 17,

2023) is GRANTED. This case is RESET for the court’s June 5, 2023 trial docket.

By separate order, a United States District Judge will set the trial date.

      Based on the factual findings below, the time from the date of this order until

June 5, 2023, is excluded pursuant to 18 U.S.C. § 3161(h)(7)(A).

      In addition, the deadline for pretrial motions is extended to May 15, 2023,

with any responses due on or before May 22, 2023. The parties shall notify the court

on the earliest practicable business day that counsel are able to determine whether

the case is to be placed on the consent docket or scheduled for trial; but, in either

event, the parties shall notify the court on or before May 15, 2023.

                               LEGAL STANDARD

      Under 18 U.S.C. § 3161(h)(7)(A), the “periods of delay” that “shall be

excluded” in “computing the time within which the trial of [a] [criminal] offense

must commence” include “[a]ny period of delay resulting from a continuance


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granted by any judge . . . at the request of the defendant or his counsel,” if “the judge

granted such continuance on the basis of his findings that the ends of justice served

by taking such action outweigh the best interest of the public and the defendant in a

speedy trial.” Id.1

      Furthermore, under 18 U.S.C. § 3161(h)(7)(B)(iv), the “factors” that a “judge

shall consider in determining whether to grant [such] a continuance” include

“[w]hether the failure to grant such a continuance in a case . . . would deny counsel

for the defendant” the “reasonable time necessary for effective preparation, taking

into account the exercise of due diligence.” Id.; e.g., United States v. Davenport,

935 F.2d 1223, 1229, 1235–36 (11th Cir. 1991).

                               FACTUAL FINDINGS

      The undersigned FINDS that the ends of justice served by granting this

continuance outweigh the best interest of the public and the defendant in a speedy

trial. See 18 U.S.C. § 3161(h)(7)(A).

      The undersigned also FINDS that the failure to grant this continuance would

deny Defendant’s counsel the reasonable time necessary for effective preparation,



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  “No such period of delay resulting from a continuance granted by the court in
accordance with this paragraph shall be excludable under this subsection unless the
court sets forth, in the record of the case, either orally or in writing, its reasons for
finding that the ends of justice served by the granting of such continuance outweigh
the best interests of the public and the defendant in a speedy trial.” 18 U.S.C.
§ 3161(h)(7)(A); see infra.

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taking into account the exercise of due diligence. See 18 U.S.C. § 3161(h)(7)(B)(iv).

      In this regard, based on Defendant’s motion, and notice of waiver of rights

under the Speedy Trial Act (Doc. 15 at 2–3), the undersigned FINDS (1) that the

discovery in this case is voluminous, and to date Hider’s counsel has received over

65 gigabytes of discovery including documents, videos, audio recordings, photos,

and mobile phone extractions, (2) that Hider’s counsel requires significant time to

process and review the discovery with Ms. Hider, and (3) that, despite the exercise

of due diligence, the Federal Public Defender’s Office requires additional time to

complete its investigation, to confer with Ms. Hider, and to prepare the

constitutionally required defense.

                                 CONCLUSION

      For the reasons stated above, Defendant’s motion to continue is GRANTED.

      DONE and ORDERED this January 18, 2023.




                                     _________________________________
                                     NICHOLAS A. DANELLA
                                     UNITED STATES MAGISTRATE JUDGE




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